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5    Attorneys for Defendant
     SARAH LARAY SANDOVAL
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7
                                 IN THE UNITED STATES DISTRICT COURT
8
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                        )   Case No. 2:18-mj-029 KJN
                                                      )
11                  Plaintiff,                        )   STIPULATION AND [PROPOSED] ORDER
                                                      )   TO CONTINUE PRELIMINARY HEARING
12         v.                                         )   AND EXCLUSION OF TIME
                                                      )
13   SARAH LARAY SANDOVAL,                            )   Date: April 12, 2018
                                                      )   Time: 2:00 p.m.
14                  Defendant.                        )   Judge: Hon. Carolyn K. Delaney
                                                      )
15                                                    )
16
17           Plaintiff, United States of America, by and through Assistant United States Attorney
18   Michelle Rodriguez, and Defendant Sarah Laray Sandoval, through her attorney Noa E. Oren,
19   Assistant Federal Defender, hereby stipulate to continue the Preliminary Hearing set for April
20   12, 2018 to May 17, 2018, at 2:00 p.m.
21           The parties agree that the time beginning April 12, 2018 extending through May 17,
22   2018, should be excluded from the calculation of time under the Speedy Trial Act. Further, the
23   Defendant consents to an extension of the time for a Preliminary Hearing until May 17, 2018.
24   Fed.R.Crim.P. 5.1(d). The parties submit that the ends of justice are served by the Court
25   excluding such time, so that they may have reasonable time necessary for effective preparation,
26   taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv). In particular,
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      Stipulation and Order to Continue Preliminary       -1-
      Hearing and Exclusion of Time
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1    the time is required so that the parties can conduct investigation and review discovery. Ms.
2    Sandoval consents to this continuance.
3            The parties stipulate that the interests of justice outweigh the interest of the public and the
4    defendant in a speedy trial, 18 U.S.C. § 3161(b) and (h)(7)(A), and further that this good cause
5    outweighs the public’s interest in the prompt disposition of criminal cases. Fed.R.Crim.P. 5.1(d).
6            IT IS SO STIPULATED.
7
8    Dated: April 3, 2018                             HEATHER E. WILLIAMS
                                                      Federal Defender
9
10                                                    /s/ Noa E. Oren
                                                      NOA E. OREN
11                                                    Assistant Federal Defender
                                                      Attorney for SARAH LARAY SANDOVAL
12
13   Dated: April 3, 2018                             MCGREGOR W. SCOTT
                                                      United States Attorney
14
                                                      /s/ Michelle Rodriguez
15                                                    MICHELL RODRIGUEZ
                                                      Assistant United States Attorney
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                                                      Attorney for Plaintiff
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      Stipulation and Order to Continue Preliminary     -2-
      Hearing and Exclusion of Time
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1                                                     ORDER
2            The Court has read and considered the Stipulation to Continue the Preliminary Hearing
3    Pursuant to Rule 5.1(d) and Exclusion of Time. The Court hereby finds that the Stipulation,
4    which this Court incorporates by reference into this Order, demonstrates good cause for an
5    extension of time for the preliminary hearing date pursuant to Rule 5.1(d) of the Federal Rules of
6    Criminal Procedure.
7            Furthermore, for the reasons set forth in the parties’ stipulation, the Court finds that the
8    interests of justice served by granting this continuance outweigh the best interests of the public
9    and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(B)(iv), Local Code T4. The Court
10   further finds that the extension of time would not adversely affect the public interest in the
11   prompt disposition of criminal cases.
12           THEREFORE, FOR GOOD CAUSE SHOWN:
13           1. The preliminary hearing is continued to May 17, 2018, at 2:00 p.m.
14           2. The time between April 12, 2018, and May 17, 2018, shall be excluded from
15   calculation pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), Local Code T4.
16           3. Defendant shall appear at that date and time before the Magistrate Judge on duty.
17
             IT IS SO ORDERED.
18
19   Dated: April 3, 2018
20                                                    ______________________________
                                                      HON. EDMUND F. BRENNAN
21                                                    United States Magistrate Judge
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      Stipulation and Order to Continue Preliminary    -3-
      Hearing and Exclusion of Time
